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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION



 MAYA PARIZER, et al.,

           PLAINTIFFS,

           v.                                       CASE NO. 1:24-cv-00724-RDA-IDD

 AJP EDUCATIONAL FOUNDATION, INC.
 a/k/a AMERICAN MUSLIMS FOR
 PALESTINE, et al.,

          DEFENDANTS.



                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that on Wednesday, October 9, 2024, at 10:00 a.m., or as soon

thereafter as the undersigned may be heard, Defendant Dr. Hatem Bazian will present to the Court

his Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(1)-(2) and 12(b)(4)-(6).

DATED: September 9, 2024.                    Respectfully Submitted,

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                                             /s/ Christina A. Jump______
                                             Christina A. Jump
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                                           DR. HATEM BAZIAN

                                 CERTIFICATE OF SERVICE

       I certify that on September 9, 2024, I served this memorandum via the ECF system to all

Plaintiffs’ counsel of record.

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